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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                NJ Criminal Interdiction LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed           Street Cop Training
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2301 Willet Place #1319
                                  Melbourne, FL 32940
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Brevard                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.streetcoptraining.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    NJ Criminal Interdiction LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    NJ Criminal Interdiction LLC                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion


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Debtor   NJ Criminal Interdiction LLC                                                 Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




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 Fill in this information to identify the case:
 Debtor name NJ Criminal Interdiction LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                          Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 886 Consulting LLC                                  Trade Services                                                                                                $1,962.00
 48 Meadow Rue
 Place
 Ballston Spa, NY
 12020
 Adeptus Partners,                                   Trade Services                                                                                                $2,500.00
 LLC
 733 Route 35
 Suite A
 Asbury Park, NJ
 07712
 Anney Mae                                           Trade Services                                                                                                $6,002.00
 12810 Murphy Grove
 Terrace
 Clarksburg, MD
 20871
 BG Trap Train LLC                                   Trade Services                                                                                                $2,837.00
 8 Tree Farm Lane
 Mahwah, NJ 07430
 Clavos                                              Trade Services                                                                                              $10,809.00
 2369 Bear Rock
 Glen
 Escondido, CA
 92026
 Craig Meyer SCT                                     Trade Services                                                                                              $15,493.72
 3103 Forestwood
 Drive
 Bryan, TX 77801
 Dulcedo Inc.                                        Trade Debt.                                                                                                 $12,500.00
 438 Rue McGill
 Suite 200
 Montreal Quebec
 Gaylord Palms                                       Trade Debt                                                                                                $249,846.73
 Resort & Conventio
 6000 West Osceola
 Parkway
 Kissimmee, FL
 34746

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 Debtor    NJ Criminal Interdiction LLC                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Inspire Solutions                                   Trade Sevices                                                                                               $25,353.00
 LLC
 125 Pearl Street
 PO Box 58091
 Braintree, MA 02185
 JB4 Enterprises                                     Trade Services                                                                                                $2,728.00
 3481 Woodbyne
 Road
 Hellertown, PA
 18055
 JBMV Group LLC                                      Trade Services                                                                                              $10,043.88
 6046 Tamarack
 Drive
 Allentown, PA 18104
 Krewer SCT LLC                                      Trade Services                                                                                                $1,855.00
 2947 S. 15th Street
 Philadelphia, PA
 19145
 MikeWorldWide                                       Trade Services                                                                                              $14,000.00
 Group LLC
 One Meadowslands
 Plaza
 15th Floor
 East Rutherford, NJ
 07073
 MN2S Corp.                                          Trade Debt                                                                                                  $10,000.00
 31 NE 17th Street
 Miami, FL 33132
 Oneface LLC                                         Trade Services                                                                                              $18,026.00
 39 Kipling Way
 Manalapan, NJ
 07726
 Plosia Cohen LLC                                    Trade Debt                                                                                                    $3,210.00
 385 Route 24
 Chester, NJ 07930
 RVS Group                                           Trade Services                                                                                                $3,710.50
 9 Hunters Trail
 Warren, NJ 07059
 Thin Blue Line                                      Trade Sevices                                                                                                 $3,202.13
 Consulting
 3 Napa Court
 Cortlandt Manor, NY
 10567
 Underworld LLC                                      Trade Services                                                                                                $4,990.88
 8 Orchard Drive
 Whitehouse Station,
 NJ 08889
 Zachary Miller                                      Trade Services                                                                                              $18,130.00
 102 Lexington Drive
 Williamsburg, VA
 23188


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NJ Criminal Interdiction LLC                 Dulcedo Inc.                             MikeWorldWide Group LLC
2301 Willet Place #1319                      438 Rue McGill                           One Meadowslands Plaza
Melbourne, FL 32940                          Suite 200                                15th Floor
                                             Montreal Quebec                          East Rutherford, NJ 07073



Daniel A. Velasquez                          Florida Department of Revenue            MN2S Corp.
Latham Luna Eden & Beaudine LLP              Bankruptcy Unit                          31 NE 17th Street
201 S. Orange Avenue                         Post Office Box 6668                     Miami, FL 33132
Suite 1400                                   Tallahassee, FL 32314-6668
Orlando, FL 32801

886 Consulting LLC                           Gaylord Palms Resort & Conventio         MTL Training and Consulting
48 Meadow Rue Place                          6000 West Osceola Parkway                6 Fountain Blvd
Ballston Spa, NY 12020                       Kissimmee, FL 34746                      Burlington, NJ 08016




Adeptus Partners, LLC                        Inspire Solutions LLC                    Oneface LLC
733 Route 35                                 125 Pearl Street                         39 Kipling Way
Suite A                                      PO Box 58091                             Manalapan, NJ 07726
Asbury Park, NJ 07712                        Braintree, MA 02185



Anney Mae                                    JB4 Enterprises                          Orange County Tax Collector
12810 Murphy Grove Terrace                   3481 Woodbyne Road                       PO Box 779003
Clarksburg, MD 20871                         Hellertown, PA 18055                     Orlando, FL 32877




BG Trap Train LLC                            JBMV Group LLC                           Plosia Cohen LLC
8 Tree Farm Lane                             6046 Tamarack Drive                      385 Route 24
Mahwah, NJ 07430                             Allentown, PA 18104                      Chester, NJ 07930




Clavos                                       JCK Academy                              RAB Fire Arms Training and Cons
2369 Bear Rock Glen                          72 Great Oak Road                        915 Bennetts Mills Road
Escondido, CA 92026                          Trenton, NJ 08690                        Ste 877
                                                                                      Jackson, NJ 08527



Craig Meyer SCT                              Krewer SCT LLC                           Rabbitproof Fence Consulting LLC
3103 Forestwood Drive                        2947 S. 15th Street                      14 Pebble Beach Way
Bryan, TX 77801                              Philadelphia, PA 19145                   Washington, NJ 07882




Dennis Benigno                               Medium Grass LLC                         RVS Group
2301 Willet Place #319                       403 Evans Court                          9 Hunters Trail
Melbourne, FL 32940                          Mount Laurel, NJ 08054                   Warren, NJ 07059
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State of New Jersey
PO Box 45029
Newark, NJ 07101




TCW Industries
27 Sacremento Way
Asbury Park, NJ 07712




Thin Blue Line Consulting
3 Napa Court
Cortlandt Manor, NY 10567




Underworld LLC
8 Orchard Drive
Whitehouse Station, NJ 08889




Zachary Miller
102 Lexington Drive
Williamsburg, VA 23188
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